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 6
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 7

 8

 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12   VITALY IVANOVICH SMAGIN                  CASE NO. 14-cv-09764-R (PLAx)
13         Petitioner,                        Before the Honorable Manuel L. Real
                                              United State District Judge
14         v.
                                              DECLARATION OF CYRUS
15   ASHOT YEGIAZARYAN,                       BENSON SUBMITTED IN
                                              OPPOSITION TO MOTION FOR A
16         Respondent.                        TURNOVER ORDER
17
                                              Hearing Place:    Courtroom 880
18                                            Hearing Date:     September 16, 2017
                                              Hearing Time:     10:00 a.m.
19

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29
                             DECLARATION OF CYRUS BENSON
30              SUBMITTED IN OPPOSITION TO MOTION FOR A TURNOVER ORDER
31
 Case 2:14-cv-09764-RGK-PLA Document 187-7 Filed 08/28/17 Page 2 of 29 Page ID
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 1                           DECLARATION OF CYRUS BENSON
 2                  I, Cyrus Benson, do hereby declare as follows:
 3          1.      I am a Partner of Gibson, Dunn & Crutcher, and an attorney admitted to
 4   the bar in New York. I am also a Solicitor qualified to practice in England and Wales.
 5   My firm and I represented Ashot Yegiazaryan (whose Russian name is also translated
 6   into English with the spelling Ashot Egiazaryan) in the underlying arbitration. We
 7   currently represent him in the pending English court proceeding challenging that
 8   arbitration award on the ground it was made without any arbitral jurisdiction. Except
 9   as otherwise indicated, I have personal knowledge of the facts declared herein and
10   could and would competently testify thereto in a Court of law if required to do so.
11

12     Mr. Smagin’s Counsel Asserted that the Russian Freeze Order Was Issued to
13                          Secure His Recovery from the Arbitration
14          2.      In connection with the arbitration claim brought by Mr. Smagin in the
15   London Court of International Arbitration, my firm and I represented respondent Ashot
16   Yegiazaryan. On his behalf, we consistently objected to the jurisdiction of the
17   arbitrators.
18          3.      Among other objections, we objected that even if there were a binding
19   arbitration agreement (which Mr. Yegiazaryan has consistently denied), Mr. Smagin
20   had waived any right he might have had to arbitration by proceeding in Russia against
21   Mr. Yegiazaryan and Mr. Yegiazaryan’s assets there.
22          4.      Among the acts that we believed were inconsistent with any right of Mr.
23   Smagin to arbitrate (if an arbitration agreement ever existed in the first place) was Mr.
24   Smagin’s action to secure a freeze of Mr. Yegiazaryan’s assets from the courts in
25   Moscow.
26

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                                                 1
29           BENSON DECLARATION IN OPPOSITION TO APPLICATION FOR WRIT OF
                                    ATTACHMENT
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31
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 1         5.     In his response, among other things, Mr. Smagin’s counsel acknowledged
 2   that Mr. Smagin had secured such a freeze, but argued at paragraph 111 of the
 3   response that the purpose of the freeze was to secure any recovery in connection with
 4   the claims asserted in the arbitration.
 5         6.     Attached hereto as Exhibit 1 are true and correct copies of the relevant
 6   portions of the response from Mr. Smagin in which Mr. Smagin’s counsel
 7   acknowledged that Mr. Smagin secured the asset freeze in Russia to secure recovery of
 8   the award he now seeks to enforce.
 9

10       Mr. Smagin’s Submissions in the Arbitration Demonstrate that the Frozen
11                       Properties Far Exceed the Value of the Award
12         7.     Among other properties, I am informed by Russian counsel that the
13   Russian order freezes the entire shopping center at the heart of this dispute, a shopping
14   center known as Europark.
15         8.     In the arbitration Mr. Smagin submitted evidence to value the Europark
16   shopping center in excess of $350 million dollars. Attached hereto as Exhibit 2 are
17   true and correct copies of the relevant portions of documents submitted in the
18   arbitration by Mr. Smagin (which are therefore adopted party admissions) that the
19   value of the real property frozen in Russia exceeds $350 million dollars.
20       There Was Expert Testimony in the Arbitration on the Forged Agreement
21         9.     In the arbitration, the arbitrators heard two experts on the question of the
22   disputed arbitration agreement at the heart of this case. Mr. Gus Lesnevich testified
23   that the signature that purportedly came from Mr. Yegiazaryan was forged.
24

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29           BENSON DECLARATION IN OPPOSITION TO APPLICATION FOR WRIT OF
                                    ATTACHMENT
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 1         10.      Mr. Smagin presented testimony from Audrey Giles. While Mr. Smagin’s
 2   expert disputed various points of Mr. Lesnevich’s conclusions, that expert could not
 3   confirm that the document was authentic.
 4         11.      In its award, the panel chose to rely upon a hearsay statement from a
 5   purported expert appointed by Russian investigators, who was not from an independent
 6   institution but an employee of the Russian Ministry of Internal Affairs with only 5
 7   years’ experience. That person did not testify in the arbitration, and while we had
 8   requested that we be given a chance to question her or at least review the materials on
 9   which she based her opinion, we were not provided these opportunities and therefore
10   we did not have the chance to fully test her report. The panel gave no indication
11   before its final award that it would rely upon this hearsay statement and we were
12   deprived of any appropriate opportunity to test the evidence as part of the arbitration
13   (although we hope to have such an opportunity if Mr. Smagin attempts to rely on it
14   again at trial before the English court discussed below).
15

16    Mr. Yegiazaryan Has Challenged the Jurisdiction of the Arbitrators in England
17                    Pursuant to Section 67 of the Arbitration Act of 1996
18         12.      As noted above, I am qualified to practice in England and Wales, and the
19   principal focus of my practice is international arbitration in London. I am co-chair of
20   Gibson, Dunn & Crutcher’s International Arbitration Practice Group. As such, I
21   regularly address and advise upon issues of English law involving international
22   arbitration.
23         ///
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29           BENSON DECLARATION IN OPPOSITION TO APPLICATION FOR WRIT OF
                                    ATTACHMENT
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 1         13.    Section 67 of the Arbitration Act 1996 provides that a party who has
 2   previously objected to an arbitrator’s jurisdiction may challenge a subsequent award in
 3   Court on the grounds that the award was outside of the substantive jurisdiction of the
 4   arbitrators and/or that the arbitrators never had any jurisdiction at all. Attached hereto
 5   as Exhibit 3 is a true and correct copy of Section 67, reflecting the right to have the
 6   award set aside where the arbitrators did not have jurisdiction. I have also included
 7   copies of Sections 70 and 73 so the court can see that the only requirement to preserve
 8   the objection is that the party assert the objection (which Mr. Yegiazaryan consistently
 9   did). It may also interest the court to know that, pursuant to Section 4(1) and Schedule
10   1 of the Arbitration Act 1996 (also included in Exhibit 3), the right to challenge an
11   award under Section 67 is a mandatory provision of law that cannot be waived, even
12   by agreement of the parties.
13         14.    Under English law, proceedings to determine the applicability and scope
14   of an arbitrator’s jurisdiction are de novo and involve the taking of evidence by the
15   Court in the first instance. The court does not defer to the decision of the arbitrator on
16   the existence of an agreement that would have given the arbitrator jurisdiction or on
17   the interpretation of the meaning or scope of that agreement.
18         15.    Because the arbitration was conducted in London, the English Courts are
19   the courts deemed by the New York Convention as the Courts with “primary
20   jurisdiction” to review the award. Consistent with the New York Convention and
21   Section 67 of the Arbitration Act 1996, Mr. Yegiazaryan on December 9, 2014 filed a
22   challenge to the award asserting both that (a) the arbitration agreement at issue was
23   forged and therefore the arbitrators were without any jurisdiction and (b) even if the
24   agreement was not forged, the agreement could not be construed to apply to the dispute
25   at issue and therefore the award would still be invalid.
26         ///
27         ///
28
                                                  4
29           BENSON DECLARATION IN OPPOSITION TO APPLICATION FOR WRIT OF
                                    ATTACHMENT
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 Case 2:14-cv-09764-RGK-PLA Document 187-7 Filed 08/28/17 Page 6 of 29 Page ID
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 1           16.   Attached hereto as Exhibit 4 is a true and correct copy of the witness
 2    statement of my colleague Doug Watson submitted in connection with Mr.
 3    Y egiazaryan' s challenge, reflecting the nature of the challenge and the fact that it is
 4    consistent with the rights reserved by Section 67 of the Arbitration Act 1996.
 5

 6          I declare under penalty of perjury, under the laws of the State of California and
 7    the United States of America, that the foregoing is true and correct and that this
 8    declaration was executed on January 27, 2015 in London, England.



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                   LONDON COURT OF INTERNATIONAL ARBii"RATION




                          LCIA ARBITRATION NO. 101721



                          VITALY IVANOVICH SMAGIN
                                                                     Claimant


                                       -v-


                           KALKEN HOLDINGS LIMITEP
                                                            1 ST Respondent


                             ASHOTYEGIAZARYAN
                                                            2ND   Respgndent




                     CLAIMANT'S RESPONSE TO THE SECOND
                   RESPONDENT'S OBlECTION TO JURISDICTION


                                  28 October 2011


                                                      Eversheds LLP
                                                    ··one-wooa  street···
                                                        London
                                                        EC2V7WS
                                                        United Kingdom

                                                        Counsel to the Claimant




                                                                                  201


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                      (A) The Criminal Case Against Mr. Yeglazaryan                                   &

                      (B) Mr. Smiaigln ls Recognised As A Vlctlrl'I Of Mr. Yeglazaryan's              7
                      Crime

                      (C) As A R.ecogl'.'lsed VictJ.m, M.r. smagl.n Is Entitled Ti> Request           7
                      The Russian Criminal Court To Order Mr. Yegluaryan to Pay the
                      Statutory Compensation Available To Vi.ctl.ms Of Cri~e.

                      (D) Mr. Smagln's Russl11m criminal Claim ls Part Of and Entirely                8
                      Dependent Upon The Existence Of The Criminal case Against Mr.
                      Yeglazaiyan.

                      (E) Mr. Smagln's Russian Criminal Claim              Wll.I   Be Detennlned On   9
                      The Criminal standard Of Proof

                      (F) The Russian Criminal Claim ls N.ot A CivlJ Compensation                     9
                      Cl~lm11'.' Civil Court Proceedings

                      (G) The Preliminary Status Of The Criminal              Pro:~ings     Against   10
                      Mr. Yeglazaryan

                      (H) The Russian Criminal Claim and the Claims In the Londo.n                    10
                      Arbitration Are Not Identical

              m.      RUSSIAN CRIMINAL CLAIM COULD NOT "'E REFERRED TO                                12
                      ARBITRATION

                       (A) the Russian Criminal Claim              Does Not Fall Within The Scc>pe    12
                    .. Qf.Il:t~ !'.r.f;l!~!'.".~I«>.~ Av~E!n.~ .
                      (B) The Russian Criminal Court Is The Exclu.slve Venue To                       14
                      Detennlne The Russla.n Crlm,na.1 t.li!lm

                      (C) The Russian Criml.nal Claim Is Part Of The Russian Criminal                 17
                      Justice System




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                             #:4214




            'LY.   MR. SMAGIN      HAS   NOT   REPUDIATED   THE   ARBITRATION      19
                   AGREEMENT

                   (A) Pursuing The RU$Slan Crimlna.1 Clajm Does Not Constitute    21
                   Repudiation of the Arbitration Agreement

                   (B) Mr. Yegl8Zaryan Has Failed To Show A Clear And              23
                   Unequivocal intention On T.he Part Of Mr. Smagln To Repudiate
                   the Arbitration Agreement

                   (C) There Is some Other Reason For Pursuing The Rus.slan        24
                   Criminal Claim

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            V.     MR. YEGIAZARYAN'S OBJECTION IS PREMATURE                        27

            VI.    CONCLUSION                                                      29




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               110.    The Russian Criminal Clalm Is an Integral part of th.e cri.m.1.nal proceedings being
                       pursued by the Russian state against Mr. Yegiazaryan, which c.oncerns
                       C.Ompensati<in ordered by the Ru!sian criminal courts to be paid to those who
                       have suffered damage as a res.ult of crlm.e a.s part of the Russla.n criminal justice
                       system. The Russian state Initiated the proceedings, and Mr. Smagin's request
                       that the eourt Include in its sentence his claim as a victim of Mr. Yegiazaryan's
                       crime Is a nonm1I response to such crim_i_nal proceedings {cf The Golden Anne).

               111.    Furt.hennore, Mr, Smagin Is legltlmately concerned over future enforcement of
                       an arbitral award In Russia (where, he believes, the majority of Mr.
                       Yegiazaryan's assets a_re loca_ted), The Russian Criminal Claim has therefore
                       been commenced to enable freezing orders to be obtained from the Russian
                       court. These freezing ord!!rs proteq assets that may satisfy a_n arbltral award. It
                       is not Inconsistent with the arbitration proceedings to have. these freezing orders
                       In place (d Dubai Islamic Bank).

               112.    Accordingly, no intention not to arbi~.te can be Inferred from Mr. Smagin's
                       pursuit of the Russian Criminal Claim.

                        (D) Conclusion

               113.     Mr.Yeglazaryan has failed to prove that the mere fact of pursuing the R_usslan
                       Criminal Oalm demonstrates a dear and unequivocal Intention on the part of Mr.
                       Smagln to repudiate the arbitration agreement.

               114.     Indeed, i.n circumstances where:

                        (a)   Mr. Smagin commenced these arbitration proceedings, Indicating his dear
                              and uneqiJlvoc:al intention to comply with the arbltra):lon agreement and to
                              refer those daims that fall within the scope of that agreement to
                              arbitration;

                        (b)   this arbitration was commenced before the Russla.n Crir:nina_i Claim;

                        (c)   subsequent to commencing the Russian Criminal a_atm, Mr. Smagln has                   A
                              fully participated Jn thl_s arbltrat.ion In, inter affa, filing a lengthy Statement   WI'
                              of Claim, .filing this response, and participating In communications to date,
                              thu:S dearly demonstrating his Intention to proceed witll the arbitration;

                        (d)   the Russian Criminal Claim Is part of th.e Rµssian criminal justice system
                              and will be detennlned as part of the sentence on the criminal. conviction of
                              Mr. Yeglazaryan (lf and when that occurs);

                        (e)   the Russian Criminal Calm has not even yet reache.d any Cl)urt i.n Russia,
                              and is stlll only a.t the lnv~lgatlve stage;




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                           LCIA ARBITRATION N°101721

                           Vitaly Ivanovich Sm.agin
                           vs.
                           Kalken Holdings Lim.ited
                           and Ashot Yegiazaryan
                           Second expert report of Irina N ovikova
  16June 2013




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 Vitaly lvanovich Smagin vs. Kalken Holdings Limited and Ashot Yegiazaryan
 Second expert report of Irina Novikova                                                                                                                                                                                                     16 June 2013




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 Second expert report of Irina Novikova                                                                                         16 June 2013




    Glossary of terms and
    abbreviations
   Term/ abbreviation                  Definition

   2003 Agreement                      Agreement in connection with the project for construction of Ekaterinovka trade centre
                                       located at 62 Rublevskoe Highway dated 29 August 2003

   Agreement to Buy-back Shares Agreement to Buy-back Shares dated 12 February 2002 between Anatoly G. Loktionov,
                                Nikolay N. Kaplun and Vitaly I. Smagin
                        ------------------··-·-·--------------·-·---
   C&W
                                 Cushman and Wakefield
    ·- - - - - - - - - - - - - - - - - - - - - - - - - - - - - · - - - - - -·-·------·-·------·
   C&W 2008 Report               Report and valuation of the "Europark" shopping centre located at 62 Rublevskoe
                                 Highway, Moscow, Russia issued 24 December 2008, prepared by Cushman & Wakefield
  -------·-·--------
   C&W 2011 Report                     Report and valuation of the "Europark" shopping centre located at 62 Rublevskoe
                                       Highway, Moscow, Russia issued 24 October 2011, prepared by Cushman & Wakefield

   C&W 2013 Report or C&W             Valuation report# II-MOSC-900234 of Europark Shopping Centre located at: 62
   Report                             Rublevskoe Highway, Moscow, Russia issued 22 January 2013, prepared by Cushman &
                                      Wakefield

   C&W Supplemental Report             Expert Supplemental Report in Respect of "Europark" Shopping Centre, located at: 62
                                       Rublevskoe Hw., Moscow, Russia" prepared by Cushman & Wakefield ("C&W") and dated
                                       24 May 2013

   CBRE                                CBRE Inc, real estate consulting and valuation company

   Centurion                           Closed Joint Stock Company "Centurion Alliance"

   Centurion valuation
                                       Business valuation of 100% shareholding in Centurion

   Claimant or Mr Smagin              Vitaly Ivanovich Smagin

   Claimant's Counsel                 Eversheds LLP

   Colliers                           Colliers International, real estate consulting and valuation company
                                                         - - - - - - - - -- -·-·-···- ···------ ·--·--- - - - - - - - - - · · -··..·- - - -
   Company
                                      Centurion

   Doug Hall Report
                                      Expert Accountant's Report of Doug Hall, Smith & Williamson, dated 19 April 2013

   EBIT
                                      Earnings Before Interest and Taxes
                                           - - - - - - -· -·- ·---·--·--·--- - - - - - - - - - -- - - ·
   Erpulev Report or Prosecutors'
                                      "Opinion of the Forensic Expertise of ZAO Centurion Alliance Shares "prepared by a


    PwC                                                                                                                                 4
                                                                                                                                  4


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 Vitaly lvanovich Smagin vs. Kalken Holdings Limited and Ashot Yegiazaryan
 Second expert report of Irina Novikova                                                                                                            16June2013




   Term/ abbreviation                                 Definition

   Report                                             private appraiser Victor Petrovich Erpulev and dated November-December 2010
  --------------                                         - - - - - - - - ----···---·             - - -··- - - - - · - - - - - - - - - -
   ERV
                                                      Estimated Rental Value

   Escrow Agreement                                   Agreement dated 13 November 2007 between Kalken, Mr Garkusha, Deutsche Bank AG
                                                      ("Deutsche Bank") and Mr Smagin
  -------------·--------
   Europark                                           Shopping centre located at: 62 Rublevskoe Highway, Moscow, Russia

   Europark valuation
                                                     Asset valuation of Europark
  ------·-·--·-·-·-·-·-·-·..····-·"'""'"'""-------·----·-·--·-"•
   First Report                                       Expert report of Irina Novikova dated       11   February 2013

   Kalken                                             Kalken Holdings Limited, the Respondent

   Knight Frank                                       Knight Frank LLP, real estate consulting and valuation company

   LaSalle                                           Jones Lang LaSalle Inc, real estate consulting and valuation company

   Mr Erpulev                               Victor Petrovich Erpulev, private appraiser
  ·- - - · -..   _   .............   ---------------------·
   Mr Garkusha                                       Dmitry Vladimirovich Garkusha

   Mr Hall
                                                     Doug Hall of Smith & Williamson

   Mr Yegiazaryan                                    Ashot Yegiazaryan, the Respondent
                                                                                  ...·- · - -···- ···- ·- ·..· - - -..- · - - - - - - - - · - - - - - - - -
   NOI
                                                     Net Operating Income

   OPEX
                                                     Operating Expenditure

   Parties
                                                     Respondents and Claimant referred to jointly, unless specified otherwise

   Profit entitlement / Dividend
                                 Estimate of Mr Smagin's entitlement to 20% of Centurion profits. Terms used
   entitlement/ Revenue          interchangeably.
   entitlement I Variable
   compensation
                      -·-----·---·-··--------------------------------------
   PwC                                               PricewaterhouseCoopers Russia B.V.

   Respondents
                                                     Kalken Holdings Limited ("Kalken") and Ashot Yegiazaryan ("Mr Yegiazaryan")

   RURorRUB
                                                     Russian Rubles
                                -·----·-·-·-·-·-·-·-·-·-··- - - - - - - - - · - - - - · - - - - - - - - - - - - -
   Russian GAAP
                                                     Russian Generally Accepted Accounting Principles
                                                                                                                    ·- - · - - - - · - - - - - - -- - - - -
   Russian Joint Stock Company
                                                     Russian Federal Law No 208-FZ of 26 December 1995 on Joint-stock companies
   Law



    PwC                                                                                                                                                       5
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 Second expert report of Irina l\lovikova                                                                             16 June 2013




   Term/ abbreviation                  Definition

   Shareholders' Agreement
                                       Shareholders' agreement between Mr Vitaly Ivanovich Smagin, Mr Dmitry Vladimirovich
                                       Garkusha and Kalken dated 26 December 2006

   Statement of Claim
                                       Statement of Claim filed by the Claimant against Kalken Holding Limited and Ashot
                                       Yegiazaryan dated 24 August 2011

   USD
                                       United States Dollars




    PwC                                                                                                                        6
                                                                                                                           6


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 Second expert report of Irina Novikova                                                                                  16 June 2013




   I. Introduction
    1.1      My full name is Irina Nikolaevna Novikova. I am a partner in the Moscow office of
             PricewaterhouseCoopers Russia B.V. ("PwC Russia B.V." or "PwC"). I submitted an expert report in
             these proceedings on      11   February 2013 (my "First Report"). My qualifications and experience are set out
             at Appendix 1 to my First Report.

   1.2       I have been instructed by Eversheds LLP ("Claimant's Counsel") in relation to a dispute between Mr
             Vitaly Ivanovich Smagin ("Mr Smagin" or "Claimant"), Kalken Holdings Limited ("Kalken") and Ashot
             Yegiazaryan ("Mr Yegiazaryan") (together, the "Respondents").

   1.3       The full background of this matter is well known to the parties involved and I do not repeat it in this
             Second Report.

   i.4       In my First Report I was instructed to provide expert evidence on:

            a.     Calculation of profits generated by ZAO Centurion Alliance ("Centurion") to date and the amount
                   that ought to have been paid to Mr Smagin out of the profits generated by Centurion, pursuant to
                   the agreement of the owners of Centurion and in the absence of Mr Yegiazaryan' s alleged illegal
                   actions as explained in the Statement of Claim; and

            b.     My valuation of the business of Centurion as of 15 January 2013 and losses incurred by Mr Smagin
                   as a result of the alleged misappropriation of his        20%   shareholding interest in Centurion.

   1.5       Since the submission of my First Report on          11   February 2013, I have received new documents,
             including, but not limited to:

            a.    "Expert Accountant's Report" prepared by Mr Hall of Smith & Williamson dated 19 April 2013,
                  including Appendices A - C ("Doug Hall Report"), which addresses my First Report;

            b.    "Expert Supplemental Report in Respect of"Europark" Shopping Centre, located at: 62
                   Rublevskoe Hw., Moscow, Russia" prepared by Cushman & Wakefield ("C&W") and dated 24 May
                   2012   ("C&W Supplemental Report");

            c.    "Opinion of the Forensic Expertise ofZAO Centurion Alliance Shares" prepared by a private
                  appraiser Victor Petrovich Erpulev and dated January 2011 ("Erpulev Report" or "Prosecutors'
                  Report");

           d.     Financial statements of Centurion for the year ending 31 December 2012 prepared under Russian
                  Generally Accepted Accounting Principles ("Russian GAAP");

            e.    Third Witness Statement of Mr Garkusha dated 5 June               2013;   and


   PwC                                                                                                                          7
                                                                                                                           7


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               f.    Third Witness Statement of Mr Smagin dated 5 June       2013.


              g.     "Agreement to Buy-back Shares" dated 12 February 2002 between Anatoly G. Loktionov, Nikolay
                     N. Kaplun and Vitaly I. Smagin ("Agreement to Buy-back Shares") 1 •

   i.6          In this Second Report, I am instructed to comment on the Doug Hall Report, in the context of the new
                evidence referred to above and made available to me after the date of my First Report. I set out the list
                of documents I relied on for the purposes of my First Report in the Appendices to my First Report. In
               Appendix 1 hereto I set out a list of additional documents I rely on in my Second Report, including
               those recently disclosed by both the Claimant and the Respondents and relevant information available
               from public sources I have examined. The documents I rely on are identified in the text of my First and
               Second Report.

   1. 7        Mr Hall and I disagree on certain key areas relevant to these proceedings. This Second Report is not
                intended to produce an exhaustive list of all areas of differences of opinion between myself and Mr Hall.
                Rather, it focuses on my key comments relating to the Doug Hall Report. Accordingly, where I make no
               comment on any particular matter in the Doug Hall Report, this should not be interpreted as an
               agreement with the Doug Hall Report.

   i.8         I am instructed to act as an expert witness and not a witness of fact. Neither my First nor Second Report
               are to be construed as expressing opinions on matters of law, which are outside my expertise.

   1.9         I have been assisted in my work by my firm's staff, whose work I have supervised personally. The
               opinions expressed are my own.

   1.10        I understand this Second Report will be used in these proceedings and will be provided to the parties of
               these proceedings, their respective legal advisers and to the Arbitral Tribunal. In all other respects, my
               First and Second Reports are confidential. They should not be used, reproduced, or circulated for any
               other purposes, in whole or in part, without my prior written consent. Neither PwC nor I accept any
               responsibility to third parties, whether for breaches of this obligation or for any opinions expressed or
               information included within my First or Second Reports, or otherwise.


   1.11        Claimant's Counsel has informed me that there are no formal requirements issued by the Arbitral
               Tribunal in respect of either form or content of my First and Second Reports.

   1.12        I set out the remainder of my Second Report under the following headings:

              a.     Summary of my conclusions




   1   Exhibit C-162 to the Statement of Claim.




   PwC                                                                                                                      8
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            b.        Profit entitlement

            c.        Valuation of Centurion

            d.        My revised assessment of the Claimant's total loss

            e.        Expert's declaration


   Background
   i.13      Before I start setting out my critique of, and comments on, the matters raised by Mr Hall in his report, I
             would like to comment on one of the key reasons for the disagreement between Mr Hall and me as to
             the value of the Claimant's       20%   shareholding in Centurion. The disagreement arises out of the legal
             background to the case and is therefore outside my area of expertise and is explained below.

   i.14      For the purposes of my First Report, I was instructed to perform my assessment of Claimant's loss on
             the basis of the fair market value of a 20% stake in Centurion, calculated as at the present date 2 •

   1.15      Having reviewed the Doug Hall Report, I understand that Mr Hall has performed his assessment of the
             Claimant's loss on the basis of the value of 20% of sales proceeds, net of all sale-related expenses, that
             the Claimant would have received, had they effected a "fire" or "foreclosure" sale of the 100% stake.
             This was the basis of Mr Hall's instructions3.

   1.16      After submitting my First Report, Claimant's Counsel have clarified the three principal scenarios I
             should address while assessing the Claimant's loss:

                 a.         Assuming Mr Smagin still owned 20% in Centurion (or in companies through which
                            Centurion is, or should be, owned), and did not intend to sell his shareholding ("Continuous
                            holding" scenario)4;




   2 The effective date of my valuation was 15 January 2013, being the date of the C&W 2013 Report valuing Europark, the key asset of


   Centurion.

   3 Mr Hall explains this at para 4-4.1 of his report: "I am instructed that a sale of shares under the Shareholders' Agreement would take

   place only in the context where the lender is enforcing against the security. Under these circumstances, it is possible that Centurion's
   assets ... would be subject to aforeclosure sale".

   4 I am instructed by the Claimant's Counsel that if Mr Yegiazaryan had not breached the Shareholders' Agreement and the Escrow

   Agreement, Mr Smagin would still be the owner of 20% of Centurion (via shares in Centurion or the companies through which Centurion
   was owned).




   PwC                                                                                                                                        9
                                                                                                                                        9


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   1'1Iy revised valuation ofCenhlrion and the Claimant's 20%
   share
   4.89      My recalculation of Centurion's net assets based on the latest available financial statements of
             Centurion at 31 December 2012 is provided in Appendix 3 106 :

   4.90      Below I provide my revised valuation of Centurion under Continuous holding scenario, Fire sale
             scenario and Best effort sale scenario:

          Table 14. My revised valuation of Centurion
                                                                                        My revised estimation



                                                                   My First     Continious      "Best                           Doug Hall     Doug Hall
           USD'ooo                                                  Report        holding effort" sale           ''Fire" sale Report max * Report min *'*
                                                                USD/ R UR       USD/RUR@     USD/RUR     USD/RUR               USD/RUR @     USD/RUR@
                                                               @15Jan 2013       25Jan 2013 @15Jan 2013 @15Jan 2013             30Sep 2013    30 Sep 2013



           Centurion's Net Assets at 31 Dec 2012                     51851          57 056          57 056          57 056        50 745        50 745


          Add          Europark re-valuation adjustment             303 807           304 158       3 04 158        304 158       278 286        1 02 566

                                 market value ofEuropark           348 700          348 700         348 700         348 700      322 220        146 500
                                less book value of Europark        (44 893)         (44 542)        (44 542)        (44 542)     (43 934)       (43 934)


          Less        Discount on foreclosure@ 20%                                                                 (69 740)      (64 444)       (29 300)
                      Selling costs @ 1 %                                                            (3 487)        (2 790)        (2 578)        (1 172)
                      Capital gain tax @ 20%                                                                                     (42 253)       (14 419)
                      Claimant's "dividend entitlement"                                                                            (9 573)        (9 573)
                      up to 30 Sep 2012



          Centurion valuation at 15 Jan 2013                    355 658          361214         357 727         288 684        210 183         98847
          Value of20% share in Centurion                          71132           72243          71 5 4 5        5 7 737        42037          19 769

          * i 0% yield, gross profits of Centurion per 2 012 Financial Sta tern en ts, adjusted for profit en titlern en t
          ** i 4 % yield, gross profits of Centurion per 2 009 Financial Sta tern en ts, adjusted for profit en titlern en t

          Source: Financial Sta tern en ts of Centurion as of 31 December     2012;   Doug Hall Report




   106
       Values in the balance sheet of Centurion at 31 December 2012 have been translated from RUR into USD using the USD/RUR exchange
   rate at 15 January 2013, the date of the C&W Report estimating the value of Europark.




   PwC                                                                                                                                                      54
                                                                                                                                                     54


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              EXHIBIT
                 3
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                                      Arbitration Act 1996
                                                      1996 CHAPTER 23




                                                                PARTI

                            ARBITRATION PURSUANT TO AN ARBITRATION AGREEMENT


                                          Powers of the court in relation to award

           67     Challenging the award: substantive jurisdiction.
                (1) A party to arbitral proceedings may (upon notice to the other parties and to the tribunal)
                    apply to the court-
                      (a) challenging any award of the arbitral tribunal as to its substantive jurisdiction;
                             or
                      (b) for an order declaring an award made by the tribunal on the merits to be of
                             no effect, in whole or in part, because the tribunal did not have substantive
                            jurisdiction.
                   A party may lose the right to object (see section 73) and the right to apply is subject
                   to the restrictions in section 70(2) and (3).
                (2) The arbitral tribunal may continue the arbitral proceedings and make a further award
                    while an application to the court under this section is pending in relation to an award
                    as to jurisdiction.
                (3) On an application under this section challenging an award of the arbitral tribunal as
                    to its substantive jurisdiction, the court may by order-
                       (a) confirm the award,
                       (b) vary the award, or
                       (c) set aside the award in whole or in part.
                (4) The leave of the court is required for any appeal from a decision of the court under
                    this section.




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                                      Arbitration Act 1996
                                                      1996 CHAPTER 23




                                                                PARTI

                            ARBITRATION PURSUANT TO AN ARBITRATION AGREEMENT


                                          Powers of the court in relation to award

           70     Challenge or appeal: supplementary provisions.
                (1) The following provisions apply to an application or appeal under section 67, 68 or 69.
                (2) An application or appeal may not be brought ifthe applicant or appellant has not first
                    exhausted-
                      (a) any available arbitral process of appeal or review, and
                      (b) any available recourse under section 57 (correction of award or additional
                           award).
                (3) Any application or appeal must be brought within 28 days of the date of the award
                    or, if there has been any arbitral process of appeal or review, of the date when the
                    applicant or appellant was notified of the result of that process.
                (4) If on an application or appeal it appears to the court that the award-
                       (a) does not contain the tribunal's reasons, or
                       (b) does not set out the tribunal's reasons in sufficient detail to enable the court
                             properly to consider the application or appeal,
                    the court may order the tribunal to state the reasons for its award in sufficient detail
                    for that purpose.
                (5) Where the court makes an order under subsection (4), it may make such further order
                    as it thinks fit with respect to any additional costs of the arbitration resulting from
                    its order.




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           2                                                                                                     Arbitration Act 1996 (c. 23)
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                     (6) The court may order the applicant or appellant to provide security for the costs of the
                         application or appeal, and may direct that the application or appeal be dismissed if the
                         order is not complied with.
                        The power to order security for costs shall not be exercised on the ground that the
                        applicant or appellant is-
                          (a) an individual ordinarily resident outside the United Kingdom, or
                          (b) a corporation or association incorporated or formed under the law of a country
                                outside the United Kingdom, or whose central management and control is
                                exercised outside the United Kingdom.
                     (7) The court may order that any money payable under the award shall be brought into
                         court or otherwise secured pending the determination of the application or appeal, and
                         may direct that the application or appeal be dismissed if the order is not complied with.
                     (8) The court may grant leave to appeal subject to conditions to the same or similar effect
                         as an order under subsection (6) or (7).
                        This does not affect the general discretion of the comt to grant leave subject to
                        conditions.

               Annotations:

               Modifications etc. (not altering text)
                Cl     S. 70 applied (with modifications) (E.W.) (21.5.2001) by S.I. 2001/1185, arts. 2, 3, Sch. para. 165(1)
                       (which amending S.I. was revoked (6.4.2004) by S.I. 2004/753, art. 3 (subject to art. 8))
                C2     S. 70 applied (with modifications) (E.W.) (6.4.2003) by The ACAS (Flexible Working) Arbitration
                       Scheme (England and Wales) Order 2003 (S.I. 2003/694), art. 2, Sch. para. 116 (which amending S.I.
                       was revoked (1.10.2004) by S.I. 2004/2333, art. 3 (subject to art. 6))
                C3     S. 70 applied (with modifictaions) (E.W.) (6.4.2004) by The ACAS Arbitration Scheme (Great Britain)
                       Order 2004 (S.l. 2004/753), art. 1, Sch. para. 205EW
                C4     S. 70 applied (with modifications) (E.W.) (1.10.2004) by The ACAS (Flexible Working) Arbitration
                       Scheme (Great Britain) Order 2004 (S.I. 2004/2333 ), art. 4, Sch. para. l56EW (with art. 6)
                CS     s. 70(3) modified (E.W.) (25.3.2002) by S.I. 2001/4015, Rule 29, Sch. Rule 62.9




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                                      Arbitration Act 1996
                                                        1996 CHAPTER 23




                                                                   PARTI

                             ARBITRATION PURSUANT TO AN ARBITRATION AGREEMENT


                                                              Miscellaneous

            73     Loss of right to object.
                 (1) If a party to arbitral proceedings takes part, or continues to take part, in the proceedings
                     without making, either forthwith or within such time as is allowed by the arbitration
                     agreement or the tribunal or by any provision of this Part, any objection-
                        (a) that the tribunal lacks substantive jurisdiction,
                        (b) that the proceedings have been improperly conducted,
                        (c) that there has been a failure to comply with the arbitration agreement or with
                               any provision of this Part, or
                        (d) that there has been any other irregularity affecting the tribunal or the
                               proceedings,
                     he may not raise that objection later, before the tribunal or the court, unless he shows
                     that, at the time he took part or continued to take part in the proceedings, he did not
                     know and could not with reasonable diligence have discovered the grounds for the
                     objection.
                 (2) Where the arbitral tribunal rules that it has substantive jurisdiction and a party to
                     arbitral proceedings who could have questioned that ruling-
                        (a) by any available arbitral process of appeal or review, or
                        (b) by challenging the award,
                     does not do so, or does not do so within the time allowed by the arbitration agreement
                     or any provision of this Part, he may not object later to the tribunal's substantive
                     jurisdiction on any ground which was the subject of that ruling.




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                                   Arbitration Act 1996
                                                   1996 CHAPTER 23




                                                              PART I

                          ARBITRATION PURSUANT TO AN ARBITRATION AGREEMENT


                                                          Introductory

           4     Mandatory and non-mandatory provisions.
               (1) The mandatory provisions of this Part are listed in Schedule I and have effect
                   notwithstanding any agreement to the contrary.
               (2) The other provisions of this Part (the "non-mandatory provisions") allow the parties
                   to make their own arrangements by agreement but provide rules which apply in the
                   absence of such agreement.
               (3) The parties may make such arrangements by agreeing to the application of institutional
                   rules or providing any other means by which a matter may be decided.
               (4) It is immaterial whether or not the Jaw applicable to the parties' agreement is the law
                   of England and Wales or, as the case may be, Northern Ireland.
               (5) The choice of a law other than the law of England and Wales or Northern Ireland as
                   the applicable law in respect of a matter provided for by a non-mandatory provision
                   of this Part is equivalent to an agreement making provision about that matter.
                  For this purpose an applicable law determined in accordance with the parties'
                  agreement, or which is objectively determined in the absence of any express or implied
                  choice, shall be treated as chosen by the parties.




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                                                             SCHEDULES

                                                                SCHEDULE 1                                          Section 4(1 ).


                                            MANDATORY PROVISIONS OF PART I
                  sections 9 to 11 (stay of legal proceedings);
                  section 12 (power of court to extend agreed time limits);
                  section 13 (application of Limitation Acts);
                  section 24 (power of court to remove arbitrator);
                  section 26( 1) (effect of death of arbitrator);
                  section 28 (liability of parties for fees and expenses of arbitrators);
                  section 29 (immunity of arbitrator);
                  section 31 (objection to substantive jurisdiction of tribunal);
                  section 32 (determination of preliminary point of jurisdiction);
                  section 33 (general duty of tribunal);
                  section 3 7(2) (items to be treated as expenses of arbitrators);
                  section 40 (general duty of parties);
                  section 43 (securing the attendance of witnesses);
                  section 56 (power to withhold award in case of non-payment);
                  section 60 (effectiveness of agreement for payment of costs in any event);
                  section 66 (enforcement of award);
                  sections 67 and 68 (challenging the award: substantive jurisdiction and serious
                  irregularity), and sections 70 and 71 (supplementary provisions; effect of order of court)
                  so far as relating to those sections;
                  section 72 (saving for rights of person who takes no part in proceedings);
                  section 73 (loss ofright to object);
                  section 74 (immunity of arbitral institutions, &c.);
                  section 75 (charge to secure payment of solicitors' costs).




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